     Case 2:19-cv-01752-MCE-KJN Document 22 Filed 12/29/20 Page 1 of 2


 1

 2

 3

 4

 5

 6

 7

 8                                    UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    CHARLES JOHNSON,                                  No. 2: 19-cv-1752 MCE KJN P
12                       Plaintiff,
13            v.                                        ORDER
14    E. HALL, et al.,
15                       Defendants.
16

17          Plaintiff is a state prisoner, proceeding through counsel, with a civil rights action pursuant

18   to 42 U.S.C. § 1983. On September 5, 2019, defendants removed this action from state court.

19   (ECF No. 1.)

20          Pending before the court is defendants’ motion to dismiss pursuant to Federal Rule of

21   Civil Procedure 12(b)(6). (ECF No. 16.) For the following reasons, plaintiff is ordered to file

22   further briefing.

23          Defendants move to dismiss plaintiff’s state law claims against defendant Hall based on

24   plaintiff’s alleged failure to comply with the California Government Tort Claims Act. In his

25   opposition, plaintiff alleges that the Lassen County Superior Court denied his petition for an order

26   relieving him from the provisions of California Government Code § 945. In the opposition,

27   plaintiff alleges that his appeal from the order by the Lassen County Superior Court is pending in

28   the California Court of Appeal.
                                                       1
     Case 2:19-cv-01752-MCE-KJN Document 22 Filed 12/29/20 Page 2 of 2


 1          Accordingly, IT IS HEREBY ORDERED that within fourteen days date of the date of this

 2   order, plaintiff shall inform the court of the status of his appeal filed in the California Court of

 3   Appeal.

 4   Dated: December 28, 2020

 5

 6

 7
     John1752.fb
 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                                         2
